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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRCT OF LOUISIAA

                                               )   MDL No. 2179
In Re: Oil Spil by the Oil Rig "Deepwater      )
Horizon" in the Gulf of Mexico, on April 20,   )
2010                                               SECTION: J
                                               )
                                               )
                                               )
                                               )   Judge Barbier
This Document Relates to:                      )
Case No. 2:11-cv-01806                             Mag. Judge Shushan
                                               )




               MEMORANDUM OF LAW IN SUPPORT OF REMAND




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                                 IN TH UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRCT OF LOUISIAA

                                                                           )    MDL No. 2179
In Re: Oil Spil by the Oil Rig "Deepwater                                  )
Horizon" in the Gulf of Mexico, on April 20,                               )
2010                                                                            SECTION: J
                                                                           )
                                                                           )
                                                                           )
                                                                           )    Judge Barbier
This Document Relates to:                                                   )
Case No. 2:11-cv-01806                                                          Mag. Judge Shushan
                                                                            )

                            MEMORANDUM OF LAW IN SUPPORT OF REMAND

             Only defendant Vidrine appeared and he has removed this case to the United States

 District Court for the District of Louisiana, citing, among other grounds, the grant of jurisdiction

 under Section 1349 of              the Outer Continental Shelf          Lands Act (OCSLA). At this stage, the sole

 question before this Court is whether removal is proper under 28 U.S.C. § 1441(b). It is not.

             Not all cases where jurisdiction has been granted to Federal District courts are removable.

 Removal is permitted only in those cases where there is diversity of citizenship, or where "the

 district courts have original jurisdiction founded on a claim or right arising under the

 Constitution, treaties or laws of the United States, or where some of the defendants is a citizen of

 the state in which the action was brought. The defendant who removed this action is a citizen of

  Louisiana.

              There is no complete diversity of citizenship in this case, and Petitioner and the class are

  not suing under federal              law, or even under what has been called "surrogate state law," that is

  state law claims incorporated into federal
                                                                  law, pursuant to OCSLA Section 1333 (a)(2)(A)

  occurring within the situs identified by Section 1333(a)(l). The claims at issue did not accrue

  within the OCSLA situs, as the allegations of
                                                                     the Complaint make clear. Instead, the claims of
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Petitioner and the class exist solely under the laws of Louisiana, or, were they to be asserted,

under general maritime law.


            This Court previously ruled on a similar motion for remand in In re Oil Spil by the OIL

RIG "DEEPWATER HORIZON," 747 F. Supp. 2d 704 (E.D. La. 20l0). While the claims of
                                                                                                                             the

Petitioner and the class in this case are similar to those of                          the State of   Louisiana in In re Oil Spil,

where remand was denied, the existence of a Louisiana citizen defendant, Mr. Vidrine, is a

critical and determinative difference. As this Court recognized in that case, "the Fifth Circuit has

not determined that finding that a court has OCSLA jurisdiction is synonymous with finding that

a plaintiffs claim arises under the laws of                         the United States." Id. at 709.

            For the reasons set forth below in greater detail, the grant of OCSLA jurisdiction cannot

be suffcient to transmute all state law actions into actions "arising under" federal
                                                                                                                  law. Nothing


in the language of the OCSLA even remotely suggests such a result. The carefully crafted and

limited incorporation of state law into federal                           law in Section 1333 solely for actions arising on

the OCSLA situs clearly contradicts any broader conclusion as to which state laws have become

 "surrogate" federal            law.

             Thus, even though the Fifth Circuit and this Court have given an expansive interpretation

 to this Court's jurisdiction, suits for state law claims such as this one are not removable absent

 complete diversity of citizenship. Since complete diversity is lacking, this action must be

 remanded.




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                                                      STATEMENT OF FACTS

                                                              Procedural History


                                                                    Argument

           Removal of an action from state court to federal court is governed by 28 U.S.C. Section

l441. Section 1441 (a) makes actions over which the District Courts have original jurisdiction

removable. i However, under Section 1441(b), removal is permissible only where the action is

"founded on a claim or right arising under the Constitution, treaties or laws of
                                                                                                                           the United States"

or where none of            the defendants "is a citizen of                 the State in which such action is brought."

28 U.S.C. § 1441 (b).1

            The removal statute is strictly construed. Shamrock Oil & Gas Corp. v. Sheets, 313 U.S.

100,109 (1941). As the Supreme Court has held: "'Due regard for the rightful independence of

state governents, which should actuate federal courts, requires that they scrupulously confine

their own jurisdiction to the precise limits which the statute has defined.' Healy v. Ratta, 292

U.S. 263, 270 (1934); see Kline v. Burke Construction Co., 260 U.S. 226, 233, 234; Matthews v.

 Rodgers, 284 U.S. 521, 525; cf. Elgin v. Marshall, 106 U.S. 578." Id.




 1 28 U.S.c. § 1441(a) provides in relevant part:


                      (a) Except as otherwise expressly provided by Act of Congress, any civil action
                            brought in a State court of         which the district courts of           the United States have
                            original jurisdiction, may be removed by the defendant or the defendants, to
                            the district court ofthe United States for the district and division embracing
                            the place where such action is pending.

 2 28 U.S.c. § 1441(b) provides:



                       (b) Any civil action of which the district courts have original jurisdiction founded
                             on a claim or right arising under the Constitution, treaties or laws of
                                                                                                                     the
                             United States shall be removable without regard to the citizenship or residence
                             of the parties. Any other such action shal1 be removable only if none of the
                             parties in interest properly joined and served as defendants is a citizen of the
                             State in which such action is brought.


                                                                               3
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           As a general rule, with a limited relevant exception discussed below, the determination as

to whether an action is removable is evaluated solely with reference to the allegations in the

complaint, the so-called "well-pleaded complaint" rule. That rule, as this Court noted, is "based

on the theory that the plaintiff
                                                   is 'the master of         her complaint.' Medina v. Ramsey Steel Co.,

Inc., 238 F.3d 674,680 (5th Cir. 2001) (citing Carpenter v. Wichita Falls Indep. Sch. Dist., 44

F.3d 362,366 (5th Cir. 1995)). As such, "(a) determination that a cause of
                                                                                                        action presents a

federal question depends upon the allegations of
                                                                              the plaintiffs well-pleaded complaint." Medina,

238 F.3d at 680. Accordingly, under the well-pleaded complaint rule, as this Court has said:

"when a plaintiff has a choice between federal and state law claims, she may proceed in state

court "on the exclusive basis of state law, thus defeating the defendant's opportunity to remove."

 In re Oil Spil, 747 F. Supp. 2d 704, 707 (E.D. La. 2010) (citation omitted). Moreover, even the

 existence of a federal pre-emption defense wil not defeat removaL. Caterpilar, Inc. v. Wiliams,

 482 U.S. 386,392-393 (1987).

             "The removing party bears the burden of showing that federal jurisdiction exists and that

 removal was proper." Manguno v. Prudential Prop. & Cas. Ins. Co., 276 F.3d 720,723 (5th Cir.

 2002) (citations omitted); accord, In re Oil Spil, 747 F. Supp. 2d 704, 707 (E.D. La. 2010)

  (citation omitted). "(D)oubts regarding whether removal jurisdiction is proper should be resolved

  against federal         jurisdiction. See Wily v. Coastal Corp., 855 F.2d 1160, 1164 (5th Cir. 1988)."

  Acuna v. Brown & Root, Inc., 200 F.3d 335, 339 (5th Cir. 2000).




                                                                               4
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The Claims in this Case and the OCSLA

           The claims pleaded in this case are solely claims by Louisiana plaintiffs, for injury

occurring in Louisiana for which Louisiana law provides a remedy. Defendant Vidrine has

asserted a right to removal because the oil spil occurred on the oil rig Deepwater Horizon, which

gives this Court jurisdiction over the claims under the provisions of the OCSLA. Defendant may

be correct about that issue, as this Court has previously held. However, that does not give

Defendant a right to removal unless Petitioner's claims "arise under" federal
                                                                                                               law, which they do

not.

            The OCSLA was enacted in 1953 as a declaration of federal sovereignty over the outer

continental shelf, beyond the limit of three geographic miles from the coast lines of adjacent

states. Up to the three mile limit, state sovereignty is recognized under the Submerged Lands

Act of 1953,43 U.S.c. § 1301, et., seq. While the OCSLA statute is complex, two provisions

are primarily relevant to this remand motion. Section l349 grants federal courts jurisdiction, but

not exclusive jurisdiction, over disputes arising out of certain operations on the Outer

Continental Shelf. 3




 3 43 U.S.c. § 1349 provides in relevant part:


                            (b) Jurisdiction and venue of actions.


                                  (1) Except as provided in subsection (c) of this section, the district
                                       courts of   the United States shall have jurisdiction of cases and
                                       controversies arising out of, or in connection with (A) any operation
                                       conducted on the outer Continental Shelf               which involves exploration,
                                       development, or production of            the minerals, of   the subsoil and seabed
                                       of the outer Continental Shelf, or which involves rights to such

                                       minerals, or (B) the cancellation, suspension, or termination of a
                                       lease or permit under this Act. Proceedings with respect to any such
                                       case or controversy may be instituted in the judicial district in which
                                       any defendant resides or may be found, or in the judicial district of
                                       the State nearest the place the cause of action arose.


                                                                                5
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           Petitioner does not challenge the fact that under Fifth Circuit precedent this Court has

jurisdiction over this action under OCSLA Section 1349.4 As this Court explained in In re Oil

Spil, the Courts have applied a two part test to determine whether Section l349 jurisdiction is

present. First, the Court must decide "whether the activities that caused the injury can be

classified as an "operation conducted on the outer Continental Shelf' and whether that

"operation" involved the exploration or production of
                                                                   minerals." Id. at 708. In Tennessee Gas

Pipeline v. Houston Cas. Ins. Co., 87 F .3d 150 (5th Cir. 1996), a tug boat collded with a

platform rig. Tennessee Gas, the owner of
                                                        the platform, alleged that its "platform was affxed to

 the OCS and was used to extract and transport minerals from the OCS." The Fifth Circuit held:

 "This was clearly enough physical activity on the OCS to constitute an operation." Id. at 154.

 The Court concluded that jurisdiction existed under Section 1349. Id. Petitioner concedes that

 under Fifth Circuit precedent, the "operations" test has been met.

             Second, the Court must determine whether the claims alleged "arise() out of, or in

 connection with the operation." In re Oil Spil, 747 F. Supp. 2d at 708. Here, unlike Tennessee

 Gas, under the allegations of the complaint, the tort in question did not take place on the Outer

  Continental Shelf, but within Louisiana territory, or within the three miles ceded to Louisiana

  under the Submerged Lands Act. To the extent that there is any ambiguity on that point, that

  ambiguity is, as a matter of law, resolved in favor of remand. Lorenz v. Tex Worliorce Comm 'n,

  211 Fed. Appx. 242,245 (5th Cir. 2006).




   4 Petitioner does wish to preserve, for possible further appel1ate review, the argument that Section 1349 jurisdiction
   does not apply to the claims in this case which may have resulted from the oil spil on the Outer Continental Shelf,
   but the tort in this case was caused when oil escaped the Outer Continental Shelf and entered into Louisiana waters
   not covered by OCSLA jurisdiction.



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             However, again, Petitioner concedes that under this Court's ruling in In re Oil Spil, the

second part of the test has been met as welL. 5 In In re Oil Spil, the State of Louisiana sought to

pursue certain statutory remedies for injuries to wildlife and aquatic life in Terrebonne Parish

resulting from oil and/or other contaminants entering into the territorial waters of Louisiana.
                                                                                                                              the
Those injuries are analogous to the injuries suffered by Petitioner and the members of




putative class. This Court nonetheless found that the "arising out of' test was met "because the

oil and other contaminants would not have entered into the State of Louisiana's territorial waters

'but for' Defendants' driling and exploration operation. In re Oil Spil, 747 F. Supp. 2d at 708.

Accordingly, Section 1349 jurisdiction was found.

              However, Defendant's next burden is to prove that the claims in this case "arise out of'

 federal      law. Petitioner vigorously contests that assertion by Defendant. The grant of jurisdiction
                                                                                                 Federal   law. "Congress did grant
 over a dispute does not mean that the dispute arises out of




 United States district courts 'original jurisdiction of cases and controversies arising out of or in

 connection with any operations conducted on the outer Continental Shelf. . . .' 43 U.S.C.
                                                                                                             jurisdiction to a federal
  § 1333(b) n. 5. It is black letter law, however, that the mere grant of




  court does not operate to oust a state court from concurrent jurisdiction over the cause of action.
                                                                                                                            Offhore Co.,
                                          New York & Trust Co., 296 U.S. 463,479 (1936)." Gulf
   United States v. Bank of




   Div. of     Pool Co. v. Mobil Oil Corp., 453 U.S. 473,478-479 (1981). District Courts routinely

   have      jurisdiction over diversity actions where state law governs, see, 28 U.S.C. § 1332, and have

   long had      jurisdiction over admiralty and maritime claims. See, 28 U.S.C. § 1333. Yet it is
                                                                                                                law. As this Court has
   beyond question that maritime law claims do not "arise under" Federal




    held:

    5 Petitioner also wishes to preserve for appeal the argument that the injuries alleged here, while in some sense
    certainly "arise out of' the oil exploration undertaken by Deepwater Horizon, are too attenuated to result in OCSLA
    jurisdiction.

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          "It is well settled that maritime law claims do not arise under the laws of the
          United States. It is therefore true that unless a defendant is not a citizen of the
          state in which the action was brought, § 1441 (b) does not allow maritime law
          claims to be removed to federal court. This is true even if the court has both
          OCSLA and admiralty jurisdiction because the Fifth Circuit has not determined
          that finding that a court has OCSLA jurisdiction is synonymous with finding that
          a plaintiffs claim arises under the laws of
                                                        the United States. See Tenn. Gas
          Pipeline, 87 F.3d at 156; See also Walsh v. Seagull Energy Corporation, 836 F.
           Supp. 411, 4l7-l8 (S.D. Tex. 1993); Rivas v. Energy Partners of
                                                                                                   Delaware, No.
           Civ. A. 99-2742, 2000 U.S. Dist. LEXIS 1230,2000 WL l27290, *5 (E.D. La.
           Feb. 1,2000) (stating "the Fifth Circuit has never held that where OCSLA and
           general maritime law overlap, the case is removable without regard to
           citizenship"); 28 U.S.C. § 1441(b)."

In re Oil Spil, at 709.


            In order to determine whether the OCSLA causes state law claims to be treated as claims

"arising under" Federal                 law, the Court must refer to Section 1333, which addresses "Laws and

regulations governing lands." The relevant sub-section is Section 1333 (a)(2)(A) which

provides, in relevant part:

                        (2) (A) To the extent that they are applicable and not inconsistent with this
            Act or with other Federal                 laws and regulations of          the Secretary now in effect or
            hereafter adopted, the civil and criminal
                                                                              laws of each adjacent State now in effect
            or hereafter adopted, amended, or repealed are hereby declared to be the law of
            the United States for that portion of                    the subsoil and seabed of   the outer
            Continental Shelf, and artificial islands and fixed structures erected thereon,
            which would be within the area of the State if its boundaries were extended
            seaward to the outer margin of the outer Continental Shelf, and the President shall
            determine and publish in the Federal Register such projected lines extending
            seaward and defining each such area. All of such applicable laws shall be
            administered and enforced by the appropriate officers and courts of the United
            States. State taxation laws shall not apply to the outer Continental Shelf.

 43 U.S.C. § 1333(a)(2)(A).

             The location requirement contained in sub-section (2)(A) is sometimes referred to as the

 "situs covered by OCSLA (i.e. the subsoil, seabed or artificial structures permanently or

 temporarily attached thereto)." Golden v. Omni Energy Servs. Corp., 242 Fed. Appx. 965, 967

 (5th Cir. 2007). Accordingly, whether the claims in this case pass the "situs test," and are held to


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have occurred on the subsoil, seabed or artificial structures permanently or temporarily attached

to the Outer Continental Shelf, is the critical question. If
                                                                                            they did occur on the OCSLA "situs,"

                      law might apply. However, the Petition does not assert any federal
                                                                                                                    law claims, but
then federal




only state law claims. If the tort took place and was complete on the OCSLA "situs," then

federal        law as surrogate for state law would apply. See, Hufnagel v. Omega Servo Indus., 182

F.3d 340, 350 (5th Cir. 1999). In the former case the claims would clearly arise under Federal


law. In the latter case, the law is uncertain, but it would be arguable that the claims would arise

under state law.

               However, in this case, the Petition must be construed in favor of
                                                                                                             remand, and therefore in

 favor of a construction that the tortious acts occurred only outside the required "situs," within the

 exclusive jurisdiction of the laws of Louisiana. As a result, those claims do not arise "under the
                                                                                                                    none of   the parties
                                                      the United States," and are removable "only if
 Constitution, treaties or laws of




 in interest properly joined and served as defendants is a citizen of
                                                                                                       the State in which such action

                                                                                                                Louisiana, and is
  is brought." 28 U.S.C. § 1441(b). Since Defendant Vidrine is a citizen of




  properly joined and has been served, removal is improper.

                This Court's ruling in In re Oil Spil supports this analysis. Although finding jurisdiction

  under Section 1349, the Court notably did not find that the claim in that case, strikingly similar

  to the claim in this case, was one "arising under" federal
                                                                                              law for the purpose of Section l3 3 3.


   The Court held:

                        "Petitioner's arguments related to OCSLA § 1333 is not applicable to
                whether this Court has jurisdiction in this matter. ... (N)either the Supreme Court
                nor the Fifth Circuit has held that the situs requirement has to be satisfied for
                jurisdiction to be proper under § 1349."

   In re Oil Spil, 747 F. Supp. 2d at 709 n.1.




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                                                                                                             law, and ruled
           The Court declined to find that the claims were "arising under" federal




instead "Nevertheless, Defendants in this matter are not citizens of Louisiana (the state in which

the action was brought). Therefore, because this court has original jurisdiction under 43 U.S.C.
                                                                                                                     the United
§ 1349(b)(1), it does not matter whether Petitioner's claims do not arise under laws of




States. This matter is removable because 'none of
                                                                                the parties in interest properly joined and

served as defendants is a citizen of
                                                        the State in which such action is brought.' 28 U.S.C. §

l441(b)." Id. at 709; accord, Hufnagel v. Omega Servo Indus., 182 F.3d 340, 350 (5th Cir. 1999)


(OCSLA does not necessarily transform maritime claims falling within its jurisdictional grant

into claims arising under federal
                                                     law. Because OCSLA does not displace general maritime law,

substantive maritime law continues to govern where both OCSLA and general maritime law

could apply); see also, Smith V. Penrod Driling, 960 F.2d 456, 459 (5th Cir. 1992) ("When an

 event occurs on an OCSLA situs but also is governed by maritime law, maritime law controls.")

             To the same effect is St. Joe CO. V. Transocean Offshore Deepwater Driling, Inc., 2011
                                                                                                had commenced an action in
 U.S. Dist. LEXIS 26391 (D. DeL. Mar. 15,2011), where plaintiff




 Delaware Superior Court against certain defendants asserting claims under Florida law arising

 out of     the Deepwater Horizon oil spilL. The case was removed to Delaware District Court. The

  court found that Florida law applied and the motion for a remand should be granted, holding:

  "the Court concludes that, even if it were bound to follow Fifth Circuit precedent, no Fifth

  Circuit authority compels the conclusion that the forum defendant rule does not apply here. Thus,

  again, the Court applies the plain and unambiguous language of § 1441 (b), which, here,

  precludes removal to federal court due to the presence of a forum defendant." Id. at 41-42. In

  reaching its conclusion, the Court in St. Joe relied on this Court's ruling in In re Oil Spil. See,

   id. at 40-41, n. l2.



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           Accordingly, in this action, where the situs of
                                                                                    the tort occurred in areas directly governed

by Louisiana Law, there is no basis for removal and a remand should be entered.

           Further, the Petition makes clear that Deepwater Horizon was "a floating, dynamically

positioned, vessel... for the purpose of driling an oil well in approximately 5000 ft. of water ..."

Petition ii 3. It has long been settled law in the Fifth Circuit that oil driling operating conducted

from a vessel is maritime activity. See, e.g., Dupre v. Penrod Driling Corp., 993 F.2d 474,477-
                                                                                                     vessel for driling, completing,
78 (5th Cir. 1993) (concluding that contract for supply and use of




and tying back wells is maritime); Campbell v. Sonat Offshore Driling, Inc., 979 F.2d 1115,

 l120-21 (5th Cir. 1992) (stating that contract for the operation of a driling vessel upon navigable

waters is maritime); Smith v. Penrod Driling Corp., 960 F.2d 456,460 (5th Cir. 1992)

 (concluding that contract for drillng of well from jack up boat is maritime); Davis & Sons, Inc.

 v. Gulf     Oil Corp., 919 F.2d 313, 316-l7 (5th Cir. 1990) (concluding that contract for servicing

 production equipment is maritime); Lewis v. Glendel Driling Co., 898 F.2d 1083, 1086-88 (5th

 Cir. 1990) (stating that contract for driling of
                                                                          well, when performed from a movable platform, is

 maritime); Theriot v. Bay Driling Corp., 783 F.2d 527, 538 (5th Cir. 1986) (holding contract for

 the provision of drilling services on a vessel to be maritime); Transcontinental Gas Pipe Line

  Corp. v. Mobile Driling Barge, 424 F.2d 684, 691(5th Cir. 1970) (stating that maritime

  commerce includes oil and gas drilling operations on navigable waters). To the extent that such
                                                                                                                               the
  claims arise under maritime law, claims also can be raised under Louisiana law because of




  "Saving to Suitors" clause. See Ballard Shipping Co., etc. v. Beach Shellfsh, et al., 32 F.3d 623
                                                                                                                                  law
  (1 st Cir. 1994). For that reason as well, this case is one which does not "arise" under federal




  for purposes of Section 1441 (b).


   Dated: , 2011


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